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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

 

 

 

MIAMI DIVISION
In Re:
ROSELI MABEN ADAMS BURSTEIN , Case No. 18-24164-RAM
Debtor. Chapter 7
/
DECLARATION IN SUPPORT OF
MOTION TO LIFT AUTOMATIC STAY
The undersigned, , under penalty of perjury states as follows:

 

l; I am employed by YAMAHA MOTOR FINANCE CORPORATION, USA
(hereinafter "Y AMAHA"), in the capacity of UD |Chi a “ic of.

2. This declaration is based upon the loan payment records of YAMAHA. These
records are regularly maintained in the course of business, and it is the regular practice to make
and maintain these records. These records reflect loan payments that are noted in the records at
the time of receipt by persons whose regular duties include recording this information. I
maintain these records for YAMAHA and regularly use and rely upon them in the performance
of my duties.

a YAMAHA has initiated proceedings to lift the automatic stay with respect to
collateral more particularly described as:

2017 WAVE RUNNER EX, VIN: YAMA1568L617
2017 ROCKET TRAILER, VIN: 4WMA4BG1XHA013418

4, In accordance with the Retail Buyer’s Order (hereinafter ““Agreement”), the
Debtors were to make monthly payments to YAMAHA.

5. The Debtors defaulted under the terms of the Agreement in that the Debtors did
not make payments due for Sepambey \4,2e}| @ , and are now past due for said payment and

all subsequent payments.

6. As aresult of the Debtors’ non-payment, the Debtors owe YAMAHA the
following sums:

748° JO
a. Principal balance $ 2) t Ci " of December 18, 2018.

 

o
b. Accrued interest $ 57.98 through December 8, 2018.

 

v Insurance cost paid at Creditor's expense $
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d. Other expenses:
Attorney fees & costs $631.00
Late Charges $
Accrued Other Fees $
e. Per diem rate of accrual on this account is $ 0.00.

a YAMAHA estimates the value of the collateral to be $6,220.00 pursuant to the
NADAguides attached hereto.

8. YAMAHA has retained Kelley Kronenberg Attorneys at Law and agreed to pay a
reasonable fee for their services.

9, The contract and proof of lien attached to this motion as exhibits are true and
accurate copies of the original documents.

PURSUANT TO 28 U.S.C. §1746, I DECLARE UNDER PENALTY OF PERJURY
THAT THE > ee IS TRUE AND CORRECT. EXECUTED ON THIS 2@€) DAY
OF + EL em bly , 2018.

 

 
